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     Uniform Domain Name Dispute Resolution Policy
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     Policy Adopted: August 26, 1999
     Implementation Documents Approved: October 24, 1999

     Notes:

     1. This policy is now in effect. See www.icann.org/udrp/udrp-schedule.htm for the
     implementation schedule.

     2. This policy has been adopted by all ICANN-accredited registrars. It has also
     been adopted by certain managers of country-code top-level domains
     (e.g., .nu, .tv, .ws).

     3. The policy is between the registrar (or other registration authority in the case of
     a country-code top-level domain) and its customer (the domain-name holder or
     registrant). Thus, the policy uses "we" and "our" to refer to the registrar and it
     uses "you" and "your" to refer to the domain-name holder.




     Uniform Domain Name Dispute Resolution Policy

     (As Approved by ICANN on October 24, 1999)

     1. Purpose. This Uniform Domain Name Dispute Resolution Policy (the "Policy") has
     been adopted by the Internet Corporation for Assigned Names and Numbers ("ICANN"),




                                       Exhibit "2"
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 is incorporated by reference into your Registration Agreement, and sets forth the terms
 and conditions in connection with a dispute between you and any party other than us
 (the registrar) over the registration and use of an Internet domain name registered by
 you. Proceedings under Paragraph 4 of this Policy will be conducted according to the
 Rules for Uniform Domain Name Dispute Resolution Policy (the "Rules of Procedure"),
 which are available at https://www.icann.org/resources/pages/udrp-rules-2015-03-11-
 en, and the selected administrative-dispute-resolution service provider's supplemental
 rules.

 2. Your Representations. By applying to register a domain name, or by asking us to
 maintain or renew a domain name registration, you hereby represent and warrant to us
 that (a) the statements that you made in your Registration Agreement are complete and
 accurate; (b) to your knowledge, the registration of the domain name will not infringe
 upon or otherwise violate the rights of any third party; (c) you are not registering the
 domain name for an unlawful purpose; and (d) you will not knowingly use the domain
 name in violation of any applicable laws or regulations. It is your responsibility to
 determine whether your domain name registration infringes or violates someone else's
 rights.

 3. Cancellations, Transfers, and Changes. We will cancel, transfer or otherwise make
 changes to domain name registrations under the following circumstances:

 a. subject to the provisions of Paragraph 8, our receipt of written or appropriate
 electronic instructions from you or your authorized agent to take such action;

 b. our receipt of an order from a court or arbitral tribunal, in each case of competent
 jurisdiction, requiring such action; and/or

 c. our receipt of a decision of an Administrative Panel requiring such action in any
 administrative proceeding to which you were a party and which was conducted under
 this Policy or a later version of this Policy adopted by ICANN. (See Paragraph 4(i) and
 (k) below.)

 We may also cancel, transfer or otherwise make changes to a domain name registration
 in accordance with the terms of your Registration Agreement or other legal
 requirements.

 4. Mandatory Administrative Proceeding.
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 This Paragraph sets forth the type of disputes for which you are required to submit to a
 mandatory administrative proceeding. These proceedings will be conducted before one
 of the administrative-dispute-resolution service providers listed at
 www.icann.org/en/dndr/udrp/approved-providers.htm (each, a "Provider").

 a. Applicable Disputes. You are required to submit to a mandatory administrative
 proceeding in the event that a third party (a "complainant") asserts to the applicable
 Provider, in compliance with the Rules of Procedure, that

 (i) your domain name is identical or confusingly similar to a trademark or service mark in
 which the complainant has rights; and

 (ii) you have no rights or legitimate interests in respect of the domain name; and

 (iii) your domain name has been registered and is being used in bad faith.

 In the administrative proceeding, the complainant must prove that each of these three
 elements are present.

 b. Evidence of Registration and Use in Bad Faith. For the purposes of Paragraph
 4(a)(iii), the following circumstances, in particular but without limitation, if found by the
 Panel to be present, shall be evidence of the registration and use of a domain name in
 bad faith:

 (i) circumstances indicating that you have registered or you have acquired the domain
 name primarily for the purpose of selling, renting, or otherwise transferring the domain
 name registration to the complainant who is the owner of the trademark or service mark
 or to a competitor of that complainant, for valuable consideration in excess of your
 documented out-of-pocket costs directly related to the domain name; or

 (ii) you have registered the domain name in order to prevent the owner of the trademark
 or service mark from reflecting the mark in a corresponding domain name, provided that
 you have engaged in a pattern of such conduct; or

 (iii) you have registered the domain name primarily for the purpose of disrupting the
 business of a competitor; or

 (iv) by using the domain name, you have intentionally attempted to attract, for
 commercial gain, Internet users to your web site or other on-line location, by creating a
 likelihood of confusion with the complainant's mark as to the source, sponsorship,
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 affiliation, or endorsement of your web site or location or of a product or service on your
 web site or location.

 c. How to Demonstrate Your Rights to and Legitimate Interests in the Domain
 Name in Responding to a Complaint. When you receive a complaint, you should refer
 to Paragraph 5 of the Rules of Procedure in determining how your response should be
 prepared. Any of the following circumstances, in particular but without limitation, if found
 by the Panel to be proved based on its evaluation of all evidence presented, shall
 demonstrate your rights or legitimate interests to the domain name for purposes of
 Paragraph 4(a)(ii):
